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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     )
                                             )
              v.                             )    CRIMINAL NO. 17-10092-NMG
                                             )
GARY P. DECICCO,                             )
                                             )
              Defendant.                     )

UNITED STATES’ RESPONSE TO MOTION OF GARY P. DECICCO FOR ISSUANCE OF
    RULE 17(C) SUBPOENA RETURNABLE BEFORE TRIAL [DOCKET NO. 329]

       The United States, through undersigned counsel, does not oppose the Motion of

Defendant Gary P. DeCicco for Issuance of Rule 17(c) Subpoena Returnable Before Trial

[Docket No. 329], which seeks leave to subpoena T-Mobile for telephone records for the time

period of January 1, 2013 to May 31, 2014.

                                                          Respectfully submitted,

                                                          ANDREW E. LELLING
                                                          United States Attorney

                                                  By:     /s/Kristina E. Barclay
                                                          KRISTINA E. BARCLAY
                                                          ROBERT E. RICHARDSON
                                                          Assistant U.S. Attorneys
                                                          U.S. Attorney’s Office
                                                          John J. Moakley U.S. Courthouse
                                                          1 Courthouse Way, Suite 9200
                                                          Boston, MA 02210
                                                          (617) 748-3100

Date: May 31, 2018
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was sent electronically to the registered participants as identified on the Notice of Electronic
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                                                      /s/Kristina E. Barclay
                                                      KRISTINA E. BARCLAY
                                                      Assistant U.S. Attorney
Date: May 31, 2018




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